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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í34)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 637 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



            Jun 04, 2018                              Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                MDL No. 2804



                  SCHEDULE CTOí34 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


ALABAMA SOUTHERN

  ALS       2       18í00225       Dallas County, Alabama v. Actavis, LLC et al

CALIFORNIA NORTHERN

                                   County of Santa Cruz, California v. Purdue Pharma L.P.
  CAN       5       18í02803       et al

FLORIDA SOUTHERN

  FLS       1       18í21920       The City of Miami v. Purdue Pharma L.P. et al

INDIANA SOUTHERN

                                   TOWN OF BROWNSTOWN, INDIANA v.
  INS       4       18í00081       AMERISOURCEBERGEN DRUG CORPORATION et
                                   al
                                   CITY OF SEYMOUR, INDIANA v.
  INS       4       18í00082       AMERISOURCEBERGEN DRUG CORPORATION et
                                   al

NORTH CAROLINA EASTERN

                                   Dare County v. AmerisourceBergen Drug Corporation
  NCE       2       18í00019       et al
                                   Craven County v. AmerisourceBergen Drug
  NCE       4       18í00090       Corporation et al
                                   City of Wilmington v. AmerisourceBergen Drug
  NCE       7       18í00081       Corporation et al

NORTH CAROLINA MIDDLE

                                   CITY OF WINSTONíSALEM v.
 NCM        1       18í00416       AMERISOURCEBERGEN DRUG CORPORATION et
                                   al

OHIO SOUTHERN
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                                   Knox County Board of County Commissioners v.
  OHS       2       18í00466       AmerisourceBergen Drug Corporation et al
                                   Shelby County Board of County Commissioners v.
  OHS       3       18í00164       AmerisourceBergen Drug Corporation et al

WEST VIRGINIA SOUTHERN

                                   The City of Bluefield, West Virginia v.
 WVS        1       18í00930       AmerisourceBergen Drug Corporation et al
